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OF TEXAS



NO. AP-75,887




EX PARTE ADAM SILVA, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 07-07-06209 IN THE 106TH DISTRICT COURT
FROM GARZA COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of attempted murder
and sentenced to fifty years’ imprisonment.  The Seventh Court of Appeals affirmed his conviction.
Silva v. State, 07-05-00423-CR (Tex. App.–Texarkana June 29, 2006, no pet.).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because counsel failed
to timely advise him that his conviction had been affirmed and of his right to file petition for
discretionary review pro se. We remanded this application to the trial court for findings of fact and
conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court has
entered findings of fact and conclusions of law that counsel failed to timely advise him that his
conviction had been affirmed and of his right to petition for discretionary review pro se.  The trial
court recommends that relief be granted.  Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997). 
We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition for
discretionary review of the judgment of the Seventh Court of Appeals in Cause No. 07-05-00423-CR
that affirmed his conviction in Case No. 07-05-00423-CR from the 106th Judicial District Court of
Garza County.  Applicant shall file his petition for discretionary review with the Seventh Court of
Appeals within 30 days of the date on which this Court’s mandate issues.
&nbsp;
Delivered:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 9, 2008
Do not publish


